                                                                                                                Entered on Docket
                                                                                                                April 29, 2024
                                                                                                                EDWARD J. EMMONS, CLERK
                                                                                                                U.S. BANKRUPTCY COURT
                                                                                                                NORTHERN DISTRICT OF CALIFORNIA


                                                                1       KELLER BENVENUTTI KIM LLP Signed and Filed: April 29, 2024
                                                                        JANE KIM (Cal. Bar No. 298192)
                                                                2       (jkim@kbkllp.com)
                                                                        JEREMY V. RICHARDS (Cal. Bar No. 102300)
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                                                                        425 Market Street, 26th Floor
                                                                4       San Francisco, California 94105
                                                                        Telephone: (415) 496-6723         ________________________________________
                                                                5       Facsimile: (650) 636-9251         DENNIS MONTALI
                                                                                                                  U.S. Bankruptcy Judge
                                                                6       Attorneys for Debtors and
                                                                        Debtors in Possession
                                                                7
                                                                                                UNITED STATES BANKRUPTCY COURT
                                                                8
                                                                                                NORTHERN DISTRICT OF CALIFORNIA
                                                                9                                    SAN FRANCISCO DIVISION
                                                               10
                                                                                                                          Case No. 24-50211 (DM) (Lead Case)
                                                               11       In re:                                            Chapter 11
                                                               12       TRINITAS ADVANTAGED                               (Jointly Administered)
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                                                                        AGRICULTURE PARTNERS IV, LP, et al.,1             ORDER (A) AUTHORIZING AND
                                                               13
                                                                                                                          APPROVING BID PROCEDURES,
                                                                                                     Debtors.             (B) APPROVING PROCEDURES
                                                               14
                                                                                                                          RELATED TO THE ASSUMPTION OF
                                                               15                                                         CERTAIN EXECUTORY CONTRACTS
                                                                                                                          AND UNEXPIRED LEASES, (C)
                                                               16                                                         APPROVING THE NOTICE
                                                               17                                                         PROCEDURES, (D) AUTHORIZING
                                                                                                                          ENTRY INTO ONE OR MORE
                                                               18                                                         STALKING HORSE AGREEMENTS,
                                                                                                                          AND (E) SETTING A DATE FOR THE
                                                               19                                                         SALE HEARING
                                                               20                                                          Date: April 26, 2024
                                                                                                                           Time: 10:00 a.m. (Pacific Time)
                                                               21                                                          Place: Tele/Videoconference
                                                                                                                                  Appearances Only
                                                               22                                                                 United States Bankruptcy Court
                                                               23                                                                 Courtroom 17, 16th Floor
                                                                                                                                  San Francisco, California, 94102
                                                               24

                                                               25
                                                                    1
                                                                      The last four digits of Trinitas Advantaged Agriculture Partners IV, LP’s tax identification
                                                               26   number are 3730. Due to the large number of debtor entities in these Chapter 11 Cases, a complete
                                                                    list of the Debtors and the last four digits of their federal tax identification numbers is not provided
                                                               27   herein. A complete list of such information may be obtained on the website of the Debtors’ claims
                                                                    and noticing agent at https://www.donlinrecano.com/trinitas. The Debtors’ service address is 2055
                                                               28   Woodside Road, Suite 195, Redwood City, CA 94061.

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                                                                1           Upon the Motion, dated as of March 29, 2024 (the “Motion”),2 of the above-captioned
                                                                2   debtors and debtors in possession (the “Debtors”) in the Chapter 11 Cases, pursuant to sections
                                                                3   105(a), 363(b), 363(f), and 365 of title 11 of the United States Code (the “Bankruptcy Code”),
                                                                4   Rules 2002, 6004, 6006, and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy
                                                                5   Rules”), and Rules 2002-1, 6004-1, and 6006-1 of the Bankruptcy Local Rules for the United
                                                                6   States District Court for the Northern District of California (the “Bankruptcy Local Rules”) for
                                                                7   (i) entry of a Bid Procedures Order (a) authorizing and approving the bid procedures (as appended
                                                                8   to the Bid Procedures Order as Exhibit 1, the “Bid Procedures”), (b) approving procedures related
                                                                9   to the assumption and assignment of certain executory contracts and unexpired leases, (c)
                                                               10   approving the form and manner of the sale notice and cure notice (the “Notice Procedures”), (d)
                                                               11   authorizing the Debtors to enter into one or more “stalking horse” purchase agreements, subject to
                                                               12   higher and better bids, and (e) setting the time, date, and place of a hearing (the “Sale Hearing”)
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                                                               13   to consider the sale and the assumption and assignment of the Purchased Contracts (as defined
                                                               14   below); (ii) entry of an order (the “Sale Order”) authorizing and approving (a) the sale of the
                                                               15   Debtors’ right, title, and interest in the property (the “Property”), free and clear of all liens, claims,
                                                               16   encumbrances, and interests (each as described below), pursuant to section 363 of the Bankruptcy
                                                               17   Code; (b) the assumption and assignment of certain executory contracts and real property leases
                                                               18   pursuant to section 365 of the Bankruptcy Code, and (c) payment of Bid Protections (as defined in
                                                               19   the Motion), if applicable; and (iii) such other and further relief as the Court deems just and proper;
                                                               20   and this Court having jurisdiction to consider the Motion and the relief requested therein pursuant
                                                               21   to 28 U.S.C. §§ 157 and 1334, the Order Referring Bankruptcy Cases and Proceedings to
                                                               22   Bankruptcy Judges, General Order 24 (N.D. Cal.), and Rule 5011-1(a) of the Bankruptcy Local
                                                               23   Rules for the United States District Court for the Northern District of California (the “Bankruptcy
                                                               24   Local Rules”); and consideration of the Motion and the requested relief being a core proceeding
                                                               25   pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C.
                                                               26   §§ 1408 and 1409; and the Court having found and determined that notice of the Motion as
                                                               27
                                                                    2
                                                                      Capitalized terms not otherwise herein defined shall have the meanings ascribed to such terms in
                                                               28   the Motion.

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                                                                1   provided to the parties listed therein is reasonable and sufficient, and it appearing that no other or
                                                                2   further notice need be provided; and this Court having reviewed the Motion and the Hoiberg
                                                                3   Declaration; and this Court having held a hearing at the above-captioned date and time, with
                                                                4   appearances as noted on the record, to consider the relief requested in the Motion; and this Court
                                                                5   having determined that the legal and factual bases set forth in the Motion establish just cause for
                                                                6   the relief granted herein; and it appearing that the relief requested in the Motion is in the best
                                                                7   interests of the Debtors, their estates, creditors, shareholders, and all parties in interest; and upon
                                                                8   all of the proceedings had before this Court and after due deliberation and sufficient cause
                                                                9   appearing therefor,
                                                               10   IT IS HEREBY ORDERED THAT:
                                                               11          1.      Those portions of the Motion seeking approval of the Bid Procedures, the Bid
                                                               12   Protections, the Notice Procedures, and setting the time, date and place of the Sale Hearing are
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                                                               13   GRANTED, as set forth and modified herein.
                                                               14          2.      Except as expressly provided herein, nothing herein shall be construed as a
                                                               15   determination of the rights of any party in interest in these Chapter 11 Cases.
                                                               16   Bid Procedures
                                                               17          3.      The Bid Procedures attached hereto as Exhibit 1 are hereby APPROVED, and the
                                                               18   Debtors are authorized to take any and all actions reasonably necessary or appropriate to
                                                               19   implement the Bid Procedures.
                                                               20          4.      Notwithstanding anything to the contrary in the Bid Procedures, Rabo Ag will be
                                                               21   permitted to credit bid up to the full amount of the Rabo Ag Debt at the Auction, subject to the
                                                               22   Committee’s right to challenge (a) the extent, validity, priority, or perfection of the liens securing
                                                               23   the Rabo Ag Debt, and (b) Rabo Ag’s right to credit bit pursuant to § 363(k) of the Code, provided
                                                               24   such challenge results in an order limiting Rabo Ag’s credit bidding rights.
                                                               25          5.      By no later than May 23, 2024, at 4:00 p.m. (prevailing Pacific time), the Debtors
                                                               26   will provide the Consultation Parties with: (a) a list of all Qualified Bids, broken down by the
                                                               27   parcels of Property to which the respective bids are qualified; (b) a list of the specific parcels of
                                                               28   Property that the Debtors intend to submit for bidding at Auction; and (c) a list of the specific

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                                                                1   parcels of Property that will not be subject to Auction (“Qualified Bid and Parcel Lists
                                                                2   Deadline”).
                                                                3          6.      By no later than May 23, 2024, at 4:00 p.m. (prevailing Pacific time) (the “Credit
                                                                4   Bid Election Deadline”), Rabo Ag shall notify, in writing (e-mail being sufficient), counsel for
                                                                5   the Debtors and counsel for the Committee if Rabo Ag intends to exercise its credit bid right at
                                                                6   the Auction with respect to all or a portion of the Property. If Rabo Ag elects to so exercise its
                                                                7   credit bid, such notice (the “Credit Bid Notice”) shall identify the portions of the Property with
                                                                8   respect to which Rabo Ag intends to credit bid, the total amount of the credit bid, and the amount
                                                                9   of the credit bid allocated by ranch. If Rabo Ag does not notify the Debtors and the Committee
                                                               10   of its intention to credit bid by the Credit Bid Election Deadline, Rabo Ag will not be permitted
                                                               11   to credit bid at the Auction.
                                                               12          7.      By no later than May 27, 2024, the Committee may file an objection to (a) Rabo
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                                                               13   Ag’s Credit Bid Notice and Rabo Ag’s right to credit bid as notified therein in accordance with
                                                               14   paragraph 4; (b) the Debtor’s decision to enter into a Stalking Horse Bid and any terms thereof;
                                                               15   (c) the portions of the Property that the Debtors intend to offer at the Auction; or (d) the timing,
                                                               16   and to seek an extension, of the Bid Deadline, the Auction, and/or the Sale Hearing (such
                                                               17   objection, a “Pre-Auction Committee Objection”).
                                                               18          8.      If the Committee files a Pre-Auction Committee Objection, a hearing shall be held
                                                               19   on May 29, 2024, at 10:00 a.m. (prevailing Pacific time) (the “Pre-Auction Hearing”) to resolve
                                                               20   the Pre-Auction Committee Objection. Replies and responses to the Pre-Auction Committee
                                                               21   Objection shall be presented at the Pre-Auction Hearing.
                                                               22   The Sale Schedule
                                                               23          9.      The dates and deadlines below are approved, but may also be modified by the
                                                               24   Debtors to the extent permitted under the Bid Procedures.
                                                               25                                          Date or                        Deadline
                                                                                Event
                                                               26                                      Proposed Date
                                                                     Bid Procedures                 April 19, 2024        Deadline by which any objections to the
                                                               27    Objection Deadline             (or 7 days before Bid Bid Procedures must be filed with the Court
                                                               28                                   Procedures Hearing) and served so as to be actually received by


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                                                                            Event                    Date or                            Deadline
                                                                1
                                                                                                  Proposed Date
                                                                2                                                     the Objection Notice Parties (as defined
                                                                                                                      below).
                                                                3
                                                                    Bid Procedures Hearing     April 26, 2024         Date for the hearing to consider the
                                                                4                              10:00 a.m. (PT)        approval of the Bid Procedures.

                                                                5   Bid Procedures Order       April 30, 2024         Last date by which the Court shall have
                                                                                                                      entered the order approving the Bid
                                                                6                                                     Procedures, in form and substance
                                                                                                                      acceptable to Rabo Ag, under the DIP
                                                                7                                                     Credit Agreement.
                                                                8   Cure Notice                May 2, 2024            Date by which the Debtors will serve the
                                                                                               (or two business       Cure Notice upon each counterparty to a
                                                                9                                                     Potential Purchased Contract and file a
                                                                                               days following entry
                                                                                               of the Bid             global exhibit listing Cure Amounts (as
                                                               10
                                                                                               Procedures Order)      defined below) for all Potential Purchased
                                                               11                                                     Contracts.
                                                                    Sale Notice                May 2, 2024            Date by which the Debtors will file and
                                                               12
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                                                                                               (or two business       serve the Sale Notice.
                                                               13                              days following entry
                                                                                               of the Bid
                                                               14                              Procedures Order)
                                                               15   Stalking Horse Deadline    May 17, 2024           Date up to which the Debtors may enter into
                                                                                                                      one or more Stalking Horse Agreements.
                                                               16
                                                                    Bid Deadline               May 17, 2024           Deadline by which the Debtors must
                                                               17                                                     actually receive binding Qualified Bids
                                                                                                                      from Qualified Bidders.
                                                               18
                                                                    Cure Objection             May 23, 2024           Deadline by which objections to the
                                                               19   Deadline                   4:00 p.m. (PT)         proposed assumption and assignment of the
                                                                                                                      applicable Potential Purchased Contract
                                                               20                                                     (including to the proposed Cure Amounts, if
                                                                                                                      any), must be filed with the Court and
                                                               21
                                                                                                                      served so as to be actually received by the
                                                               22                                                     Objection Notice Parties, provided,
                                                                                                                      however, that objections with respect to the
                                                               23                                                     Successful Bidder’s ability to provide
                                                                                                                      adequate assurance of future performance
                                                               24                                                     may be raised at the Sale Hearing.
                                                               25   Qualified Bid and Parcel May 23, 2024             Deadline by which the Debtors will provide
                                                                    Lists Deadline           4:00 p.m. (PT)           the Consultation Parties with: (a) a list of all
                                                               26                                                     Qualified Bids, broken down by the parcels
                                                                                                                      of Property to which the respective bids are
                                                               27
                                                                                                                      qualified; (b) a list of the specific parcels of
                                                               28                                                     Property that the Debtors intend to submit
                                                                                                                      for bidding at Auction; and (c) a list of the

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                                                                             Event                   Date or                            Deadline
                                                                1
                                                                                                  Proposed Date
                                                                2                                                     specific parcels of Property that will not be
                                                                                                                      subject to Auction.
                                                                3
                                                                    Credit Bid Election        May 23, 2024           Deadline by which Rabo Ag shall notify the
                                                                4   Deadline                   4:00 p.m. (PT)         Debtors and the Committee of its election to
                                                                                                                      credit bid at the Auction.
                                                                5
                                                                    Pre-Auction Committee      May 27, 2024           Deadline by which the Committee may file
                                                                6   Objection Deadline                                an objection to (a) Rabo Ag’s Credit Bid
                                                                                                                      Notice and Rabo Ag’s right to credit bid as
                                                                7                                                     notified therein in accordance with
                                                                                                                      paragraph 4; (b) the Debtor’s decision to
                                                                8                                                     enter into a Stalking Horse Bid and any
                                                                9                                                     terms thereof; (c) the portions of the
                                                                                                                      Property that the Debtors intend to offer at
                                                               10                                                     the Auction; or (d) the timing, and to seek
                                                                                                                      an extension, of the Bid Deadline, the
                                                               11                                                     Auction, and/or the Sale Hearing.
                                                               12   Starting Bid Notice        May 29, 2024           The Debtors will provide to all Qualified
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                                                                    Deadline                                          Bidders participating in the Auction a
                                                               13                                                     Starting Bid Notice stating the Starting Bid
                                                                                                                      and the bidding increments for each lot.
                                                               14
                                                                    Pre-Auction Hearing (if    May 29, 2024           Hearing on the Pre-Auction Committee
                                                               15   necessary)                 10:00 a.m. (PT)        Objection (if any).
                                                               16                              (subject to Court’s
                                                                                               availability)
                                                               17

                                                               18   Auction (if necessary)     May 30, 2024           Date on which the Debtors will begin the
                                                                                               11:00 a.m. (PT)        Auction (pursuant to the DIP Credit
                                                               19                                                     Agreement, the Auction must have been
                                                                                                                      conducted by May 31, 2024).
                                                               20
                                                                    Auction Results Notice     June 3, 2024           Date by which the Debtors will serve notice
                                                               21                                                     of the results of the Auction to all Qualified
                                                                                               (or one business day
                                                                                               after the conclusion   Bidders, the Creditors’ Committee, Rabo
                                                               22
                                                                                               of the Auction)        Ag, and all other parties who have timely
                                                               23                                                     elected to receive notices related to the sale
                                                                                                                      process.
                                                               24
                                                                    Sale Objection Deadline    June 7, 2024           Deadline by which Sale Objections must be
                                                               25                              4:00 p.m. (PT)         filed with the Court and served so as to be
                                                                                                                      actually received by the Objection Notice
                                                               26                                                     Parties.
                                                               27   Sale Reply Deadline        June 12, 2024          Deadline by which the Debtors and/or the
                                                                                                                      Successful Bidder(s) will file and serve
                                                               28

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                                                                                Event                  Date or                               Deadline
                                                                1
                                                                                                    Proposed Date
                                                                2                                                         their reply, if any, in support of the Sale
                                                                                                                          Motion.
                                                                3
                                                                     Sale Hearing                June 14, 2024            Date for the hearing to consider approval of
                                                                4                                10:00 a.m. (PT)          the Sale pursuant to section 363 of the
                                                                                                                          Bankruptcy Code.
                                                                5
                                                                     Sale Order Deadline         Within 3 business        Date by which the Court shall have entered
                                                                6                                days following the       the Sale Order, pursuant to the DIP Credit
                                                                                                 Sale Hearing             Agreement.
                                                                7

                                                                8
                                                                    Sale Notice Procedures
                                                                9
                                                                           10.      The Sale Notice, substantially in the form attached to hereto as Exhibit 2, is
                                                               10
                                                                    sufficient to provide effective notice to all interested parties of the Bid Procedures, the Auction,
                                                               11
                                                                    the Sale contemplated under the Bid Procedures, and the assumption and assignment of the
                                                               12
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                                                                    Purchased Contracts, pursuant to Bankruptcy Rules 2002(a)(2), 6004, and 6006, and is hereby
                                                               13
                                                                    approved.
                                                               14
                                                                           11.      Within two business days following entry of this Bid Procedures Order, the
                                                               15
                                                                    Debtors (or their agent) shall serve the Sale Notice, by first-class mail, postage pre-paid, upon
                                                               16
                                                                    (a) the Objection Notice Parties (as defined below), (b) any parties requesting notices in this case
                                                               17
                                                                    pursuant to Bankruptcy Rule 2002, (c) all entities reasonably known to have expressed an interest
                                                               18
                                                                    in a transaction with respect to any of the Property during the past nine (9) months, (d) all parties
                                                               19
                                                                    known by the Debtors to assert a lien on any of the Property, (including the county tax collector
                                                               20
                                                                    for each county in which the Property is located), (e) all persons known or reasonably believed
                                                               21
                                                                    to have asserted an interest in any of the Property, (f) all non-Debtor parties to any Potential
                                                               22
                                                                    Purchased Contracts, (g) all taxing authorities having jurisdiction over any of the Property,
                                                               23
                                                                    including the IRS, (h) the Debtors’ insurers, (i) all known creditors of the Debtors, (j) all known
                                                               24
                                                                    holders of equity interests in the Debtors, (k) all environmental authorities having jurisdiction
                                                               25
                                                                    over any of the Property, and (l) to the extent not included above, all parties in interest listed on
                                                               26
                                                                    the Debtors’ creditor matrix.
                                                               27

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                                                                1   Sale Objection Procedures
                                                                2          12.     Any party that seeks to object to the relief requested in the Motion pertaining to
                                                                3   approval of the Sale of the Purchased Property (“Sale Objection”) shall file a formal objection
                                                                4   that complies with the procedures set forth in the Motion. Each Sale Objection shall state the
                                                                5   legal and factual basis of such objection and may be orally supplemented at the Sale Hearing.
                                                                6          13.     Any and all written objections as contemplated by this Order (other than an
                                                                7   Assumption Objection (as defined below), which will be governed by the procedures addressing
                                                                8   Assumption Objections set forth below) must: (a) be in writing; (b) comply with the Bankruptcy
                                                                9   Rules and the Local Rules; (c) set forth the specific basis for the Sale Objection; (d) be filed with
                                                               10   the Court, 450 Golden Gate Avenue, 16th Floor, San Francisco, California 94102, together with
                                                               11   proof of service, on or before 4:00 p.m. (prevailing Pacific Time) on June 7, 2024 (the “Sale
                                                               12   Objection Deadline”) and (e) be served, so as to be actually received on or before the Sale
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                                                               13   Objection Deadline, upon the following parties (collectively, the “Objection Notice Parties”): (i)
                                                               14   Debtors’ counsel, Keller Benvenutti Kim LLP, Attn: Jane Kim, Esq., and Jeremy V. Richards,
                                                               15   Esq., 425 Market Street, 26th Floor, San Francisco, CA 94105, jkim@kbkllp.com,
                                                               16   jrichards@kbkllp.com; (ii) counsel to the Administrative Agent, Fennemore Dowling Aaron,
                                                               17   8080 N. Palm Avenue, 3rd Floor, Fresno, California 93711 (Attn. J. Jackson Waste
                                                               18   (jwaste@fennemorelaw.com), Don J. Pool (dpool@fennemorelaw.com), Jerome A. Grossman
                                                               19   (jgrossman@fennemorelaw.com), and Anthony A. Austin (aaustin@fennemorelaw.com); (iii)
                                                               20   the Office of the United States Trustee for Region 17, 450 Golden Gate Avenue, 5th Floor, Suite
                                                               21   #05-0153, San Francisco, California 94102, Attn: Trevor Fehr (Trevor.Fehr@usdoj.gov) and
                                                               22   Paul Leahy (Paul.Leahy@usdoj.gov); and (iv) counsel to the Creditors’ Committee, (x) Raines
                                                               23   Feldman Littrell LLP, 3200 Park Center Drive, Suite 250, Costa Mesa, CA 92626 (Attn. Robert
                                                               24   S. Marticello (rmarticello@raineslaw.com)), (y) Raines Feldman Littrell LLP, 30 North LaSalle
                                                               25   Street, Suite 3100, Chicago, IL 60602 (Attn. Mark S. Melickian (mmelickian@raineslaw.com)),
                                                               26   and (z) Husch Blackwell LLP, 120 South Riverside Plaza, Suite 2200, Chicago, IL 60606 (Attn.
                                                               27   Michael A. Brandess (Michael.brandess@huschblackwell.com)).
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                                                                1           14.     Failure to object to the relief requested in the Motion shall be deemed to be
                                                                2   “consent” for purposes of Bankruptcy Code section 363(f). All objections to the Motion or the
                                                                3   relief requested therein (and all reservations of rights included therein), as they pertain to the
                                                                4   entry of this Order, are overruled to the extent they have not been withdrawn, waived, or
                                                                5   otherwise resolved.
                                                                6   Assumption and Assignment Procedures
                                                                7           15.     The procedures relating to assumption and assignment of the Purchased Contracts
                                                                8   set forth below (the “Contract Procedures”), including the form of cure notice attached hereto as
                                                                9   Exhibit 3 (the “Cure Notice”), are hereby authorized, approved, and made part of this Order as
                                                               10   if fully set forth herein.
                                                               11           16.     The Debtors will serve the Cure Notice upon each counterparty to a Potential
                                                               12   Purchased Contract by no later than two business days following entry of the Bid Procedures
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                                                               13   Order. The Cure Notice will identify the amounts, if any, that the Debtors believe are owed to
                                                               14   each counterparty to a Potential Purchased Contract in order to cure any defaults that exist under
                                                               15   such contract as required under Bankruptcy Code section 365(b)(1).
                                                               16           17.     To the extent there is a contract added to the list of contracts to be assumed by the
                                                               17   Successful Bidder pursuant to the Successful Bidder’s purchase and sale agreement selected at
                                                               18   the Auction, each such contract will be listed on an exhibit to the Successful Bidder’s purchase
                                                               19   and sale agreement, and each counterparty to such contract will be given a separate Cure Notice
                                                               20   filed and served by overnight delivery within 24 hours of the conclusion of the Auction and
                                                               21   announcement of the Successful Bidder
                                                               22           18.     The inclusion of a contract, lease, or other agreement on either the Cure Schedule
                                                               23   or a Cure Notice shall not (a) constitute or be deemed a determination or admission by the Debtors
                                                               24   and their estates or any other party in interest that such contract, lease, or other agreement is, in
                                                               25   fact, an executory contract or unexpired lease within the meaning of the Bankruptcy Code, and
                                                               26   any and all rights with respect thereto shall be reserved; or (b) obligate the Debtors to assume
                                                               27   any Potential Purchased Contract listed thereon or the Successful Bidder(s) to take assignment
                                                               28   of such Potential Purchased Contract. Only those Purchased Contracts that are included on a

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                                                                 1   schedule of assumed and acquired contracts attached to the final purchase and sale agreement
                                                                 2   with the Successful Bidder (including amendments or modifications to such schedules in
                                                                 3   accordance with such purchase and sale agreement) will be assumed and assigned to the
                                                                 4   Successful Bidder upon the closing of such Sale.
                                                                 5          19.     If a Purchased Contract is assumed and assigned pursuant to the Sale Order or
                                                                 6   other order of the Court, then unless the Purchased Contract counterparty properly and timely
                                                                 7   files and serves an objection to the Cure Amounts contained in the Cure Notice by the
                                                                 8   Assumption Objection Deadline, the Purchased Contract counterparty will receive, from the
                                                                 9   applicable Successful Bidder, at the time of the assumption and assignment (as specified below),
                                                                10   only the Cure Amounts as set forth in the Cure Notice, if any.
                                                                11          20.     If any counterparty objects for any reason to the assumption and assignment of a
                                                                12   Potential Purchased Contract (including to the proposed Cure Amount, if any) (an “Assumption
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                                                                13   Objection”), the Debtors propose that the counterparty must file the objection and serve it so as
                                                                14   to be actually received by the Objection Notice Parties by no later than 4:00 p.m. (prevailing
                                                                15   Pacific Time) on May 23, 2024 (the “Cure Objection Deadline”), provided, however, that any
                                                                16   counterparty may raise at the Sale Hearing an objection to the assumption and assignment of the
                                                                17   Purchased Contract solely with respect to the Successful Bidder’s ability to provide adequate
                                                                18   assurance of future performance under the Purchased Contract. Any objection must (a) set forth
                                                                19   a specific default in the executory contract or unexpired lease, claim a specific monetary amount
                                                                20   that differs from the amount, if any, specified by the Debtors in the Cure Notice, and set forth
                                                                21   any reason why the counterparty believes the executory contract or unexpired lease cannot be
                                                                22   assumed and assigned to the Successful Bidder and state, with specificity, the legal and factual
                                                                23   basis for the objection; (b) include appropriate documentation in support of the objection; and
                                                                24   (c) be filed and served so as to be received by the Cure Objection Deadline.
                                                                25          21.     If, following the closing date of the respective Sale, and only to the extent
                                                                26   permitted under the purchase and sale agreement that is the Successful Bid, the Successful Bidder
                                                                27   designates as a Purchased Contract a contract or lease not included as a Potential Purchased
                                                                28   Contract and not previously rejected by the Debtors, the Debtors will promptly serve, at

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                                                                 1   Successful Bidder’s expense, a supplemental notice of potential assumption and assignment by
                                                                 2   electronic transmission, hand delivery, or overnight mail on the counterparty to such impacted
                                                                 3   Purchased Contract (each, a “Supplemental Purchased Contract Counterparty”), and its attorney,
                                                                 4   if known, at the last known address available to the Debtors (a “Supplemental Cure Notice”).
                                                                 5   Each Supplemental Cure Notice will include the same information with respect to listed
                                                                 6   Contracts as was included in the Cure Notice with respect to the Potential Purchased Contracts.
                                                                 7          22.     Any Supplemental Purchased Contract Counterparty may file an objection (a
                                                                 8   “Supplemental Purchased Contract Objection”) to, as applicable, the proposed assumption and
                                                                 9   assignment of such Purchased Contract, the proposed Cure Amounts (if any), or adequate
                                                                10   assurance of future performance by the Successful Bidder. All Supplemental Purchased Contract
                                                                11   Objections must: (a) set forth a specific default in the executory contract or unexpired lease,
                                                                12   claim a specific monetary amount that differs from the amount, if any, specified by the Debtors
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                                                                13   in the Supplemental Cure Notice, and/or set forth, with specificity, any reason that the
                                                                14   counterparty believes the executory contract or unexpired lease cannot be assumed and assigned
                                                                15   to the Successful Bidder, and state, with specificity, the legal and factual basis for the objection
                                                                16   and, if applicable, what Cure Amounts are required; (b) include appropriate documentation in
                                                                17   support of the objection; and (c) be filed and served so as to be actually received by the Objection
                                                                18   Notice Parties no later than ten (10) days from the date of service of such Supplemental Cure
                                                                19   Notice, which date will be set forth in the Supplemental Cure Notice.
                                                                20          23.     If a Supplemental Purchased Contract Counterparty files a Supplemental
                                                                21   Purchased Contract Objection in a manner that is consistent with the requirements set forth
                                                                22   above, and the parties are unable to consensually resolve the dispute, the Debtors will seek an
                                                                23   expedited hearing before the Court, and such dispute will be resolved at such expedited hearing
                                                                24   or, in the Debtors’ discretion, adjourned to a later hearing. If there is no such timely objection,
                                                                25   then (a) such Purchased Contract shall be deemed assumed and assigned pursuant to the Sale
                                                                26   Order, without further order of the Court and the Supplemental Purchased Contract Counterparty
                                                                27   will be deemed to have consented to the assumption and assignment of the Purchased Contract;
                                                                28

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                                                                 1   and (b) the Cure Amounts, if any, set forth on the Supplemental Cure Notice shall be controlling,
                                                                 2   notwithstanding anything to the contrary in any Purchased Contract or any other document.
                                                                 3          24.     The Successful Bidder shall be responsible for paying any Cure Amount for a
                                                                 4   Purchased Contract that is assumed and assigned and for satisfying any requirements regarding
                                                                 5   adequate assurance of future performance that may be imposed under section 365(b) of the
                                                                 6   Bankruptcy Code in connection with the proposed assignment of any Purchased Contract, and
                                                                 7   the failure to provide adequate assurance of future performance to any counterparty to any
                                                                 8   Purchased Contract shall not excuse the Successful Bidder from performance of any and all of
                                                                 9   its obligations pursuant to the Successful Bidder’s purchase and sale agreement. Cure Amounts
                                                                10   disputed by any counterparty will be resolved by the Court at the Sale Hearing or such later date
                                                                11   as may be agreed to or ordered by the Court. Nothing herein shall restrict the ability of the
                                                                12   Debtors to reject or terminate a contract or lease that has not been designated as a Purchased
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                                                                13   Contract as of the Closing Date, except to the extent provided in the purchase and sale agreement
                                                                14   that is the Successful Bid.
                                                                15   The Stalking Horse Agreement(s)
                                                                16          25.     Subject to the Bid Procedures and approval at the Sale Hearing (as to which all
                                                                17   parties’ rights are reserved), the Debtors’ entry into one or more Stalking Horse Agreements,
                                                                18   subject to higher and better bids, is authorized, provided, however, that any Bid Protections shall
                                                                19   be subject to Court approval at the Sale Hearing.
                                                                20   Other Relief Granted
                                                                21          26.     The Auction is scheduled for 11:00 a.m. on May 30, 2024, at the offices of Keller
                                                                22   Benvenutti Kim LLP, located at 425 Market Street, 26th Floor, San Francisco, California 94105,
                                                                23   or such other location, including by virtual meeting, as shall be timely communicated to all
                                                                24   entities entitled to attend the Auction, which Auction may be cancelled or adjourned by the
                                                                25   Debtors, in consultation with the Consultation Parties.
                                                                26          27.     A hearing (the “Sale Hearing”), at which the Debtors shall seek approval of the
                                                                27   Successful Bid (as defined in the Bid Procedures) shall be held in this Court on June 14, 2024
                                                                28

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                                                                 1   at 10:00 a.m. (PT). The Sale Hearing may be adjourned or rescheduled without further notice
                                                                 2   by an announcement of the adjourned date at the Sale Hearing.
                                                                 3          28.     Rabo Ag will be permitted to credit bid up to the full amount of the Rabo Ag Debt
                                                                 4   at the Auction, subject to the Committee’s right to challenge the nature, extent, validity, priority,
                                                                 5   perfection, or amount of the Rabo Ag Debt, and subject to § 363(k) of the Bankruptcy Code.
                                                                 6          29.     The failure of the Committee to object to a bid put forth by Rabo Ag or the Court’s
                                                                 7   approval of any such credit bid shall not (a) prejudice or impair the rights of the Committee to
                                                                 8   challenge the nature, extent, validity, priority, perfection, or amount of Rabo Ag’s alleged liens,
                                                                 9   security interests, and claims or (b) release Rabo Ag from any causes of action which can be
                                                                10   brought by or on behalf of the Debtors’ estates.
                                                                11          30.     All entities that participate in the bidding process or the Auction shall be deemed
                                                                12   to have knowingly and voluntarily submitted to the exclusive jurisdiction of the Court with
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                                                                13   respect to all matters related to the terms and conditions of the transfer of Property, the Auction,
                                                                14   and any transaction contemplated herein.
                                                                15          31.     In the event there is a conflict between this Order and the Motion, this Order shall
                                                                16   control and govern.
                                                                17          32.     Nothing in this Bid Procedures Order or the Motion shall be deemed to or
                                                                18   constitute the assumption or assignment of an executory contract or unexpired lease.
                                                                19          33.     This Court shall retain jurisdiction with respect to all matters arising or related to
                                                                20   the implementation or interpretation of this Bid Procedures Order.
                                                                21          34.     This Bid Procedures Order shall be effective immediately upon entry, and any
                                                                22   stay of orders provided for in Bankruptcy Rules 6004 or 6006 or any other provision of the
                                                                23   Bankruptcy Code or Bankruptcy Rules is expressly lifted. The Debtors are not subject to any
                                                                24   stay in the implementation, enforcement or realization of the relief granted in this Bid Procedures
                                                                25   Order, and may, in their discretion and without further delay, take any action and perform any
                                                                26   act authorized under this Bid Procedures Order.
                                                                27                                          **END OF ORDER**
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                                                                 1                                     Court Service List
                                                                 2   All ECF Participants
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